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                        IN THE UNITED STATES DISTRICT COUR1      HLED
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION          2Ch1JA2U

JAVIER BELTRAN and ELIZABETH                   §                                    [LiCI   f   TEX
BELTRAN,                                       §
     Plaintiffs,                               §
                                               §
v.                                             §                 EP-16-CV-057-DB
                                               §
PACIFIC SPECIALTY INSURANCE                    §
COMPANY,                                       §
     Defendant.                                §

                                     FINAL JUDGMENT

              On this day, the Court issued an order dismissing all claims in the

above-captioned case.    The Court now enters this Final Judgment in accordance with Federal

Rule of Civil Procedure 58.

              Accordingly, IT IS HEREBY ORDERED that the above-captioned case is

DISMISSED WITH PREJUDICE.

              SIGNED this 20th day of January 2017.




                                                    '   /
                                                       IVAVID BRIONES
                                            SENIOR UNITED STATES DISTRICT JUDGE
